Case 2:Ol-CV-02503-SH|\/|-tmp Document 568 Filed 06/16/05 Page 1 of 4 Page|D 685

F",.E£" §I:u»-‘ ,
IN THE UNITED sTATES DISTRICT coURT J "~ fJ-C.

FOR THE WESTERN DISTRICT oF TENNESSEE 95 JU,‘,
wEsTERN DIvIsIoN I` 15 AHlU= 31

DAP..§”I""`_ "' `
C H;:j_v» 1`.\|:"1..:! ii§G§..fG
1121 ¢r\, i\)-»';:. QFST. CT

FEDERAL EXPRESS coRP., \f.D. UF m ,¢;.,»,'r:;\;p;\q,é

Plaintiff,

VS. NO. Ol-2503-MaP

ACCU SORT SYSTEMS, INC

' l

Defendant.

 

ORDER GRANTING MOTION FOR ADDITIONAL 'I‘IME TO REPLY

 

Before the court is the plaintiff’s June 14, 2005, unopposed
motion requesting additional time within which to file a reply to
defendant‘s motion in limine regarding alleged knowledge of
calibration in the bar code scanning industry. For good cause
shown, the motion is granted. The plaintiff shall have
additional time to and including June 17, 2005, within which to
file a reply.

It is so ORDERED this /S%kday of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

- e
mp\\anc
eat '\T‘ °O`
e en we dGCKW
m
memen chon
TWSdOinBanMOYTQUnF
Wuh%“e

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 568 in
case 2:01-CV-02503 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

David Wade

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/1emphis7 TN 38119

Cynthia D Vreeland

WILMER CUTLER PICKERING HALE & DORR LLP
60 State St.

Boston7 MA 02109

John R. Branson

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Michael W. Higginbotham

FEDEX CORPORATION- Hacks Cross
3620 Hacks Cross Rd.

Third Floor, Building B.

1\/1emphis7 TN 38125--880

Michael R. Heyison

WILMER CUTLER PICKERING HALE & DOOR LLP
60 State St

Boston7 MA 02109

John G. Fabiano

WILMER CUTLER PICKERING HALE & DOOR LLP
60 Hale St

Boston7 MA 02109

Anthony Volpe

VOLPE & KOENIG, P.C.
30 S. 17th St.

Ste. 1600

Philadelphia, PA 19103

Case 2:Ol-cV-02503-SH|\/|-tmp Document 568 Filed 06/16/05 Page 3 of 4 Page|D 687

John J O'Malley

VOLPE & KOENIG, P.C.
30 S. 17th St.

Ste. 1600

Philadelphia, PA 19103

Stephen R. Cochell
FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building ]3.
1\/1emphis7 TN 38125--880

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Charles F. Morrow

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

J. Brook Lathram

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

John Patterson Brumbaugh
KING & SPALDING

191 Peachtree St. N.E.
Atlanta, GA 30303--176

Cynthia J. Collins

FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building ]3.
1\/1emphis7 TN 38125--880

Frank 1\/1. Holbrook

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Grady M. Garrison

BUTLER SNOW O'MARA STEVENS & CANNADA, PLLC
P.O.B0X171443

1\/1emphis7 TN 38187--144

Case 2:Ol-cV-02503-SH|\/|-tmp Document 568 Filed 06/16/05 Page 4 of 4 Page|D 688

Honorable Samuel Mays
US DISTRICT COURT

